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                                                                                                     N.D. OF ALABAMA


                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION


SUEANN SWANEY, on behalf of
Plaintiff and the class defined below,

       Plaintiff,                                     CIVIL ACTION NO. 2:13-cv-00544-JHE
v.                                                    Class Action
REGIONS BANK,
      Defendant.
__________________________________________/
______________________________________________________________________________

 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS
    ACTION SETTLEMENT AND CERTIFICATION OF SETTLEMENT CLASS
         AND INCORPORATED MEMORANDUM OF LAW IN SUPPORT
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      Plaintiff, SueAnn Swaney (“Plaintiff” or “Class Representative”), respectfully submits

this Unopposed Motion for Preliminary Approval of Class Action Settlement and Certification of

Settlement Class and Incorporated Memorandum of Law in Support.

I.     INTRODUCTION

       This case involves alleged violations of the Telephone Consumer Protection Act, 47 U.S.C.

§ 227(b) (“TCPA”), which prohibits the use of automatic telephone dialing systems (“ATDS”) to

call or text cellular telephones unless the caller has the “prior express consent” of the called party

to make such calls. See 47 U.S.C. § 227(b)(1)(A)(iii). Plaintiff alleges that Defendant, Regions

Bank (“Defendant” or “Regions”) violated the TCPA by sending text messages to cellular

telephone numbers through the use of an ATDS without the prior express consent of consumers




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who are the current holders of the cellular telephone numbers. Defendant denies any liability and

has asserted substantial defenses.

II.    BACKGROUND

       A. Nature of the Claims and Procedural History

       Ms. Swaney filed this action on March 21, 2013, accusing Regions of violating the TCPA

by sending text alert messages to her cell phone without consent. On April 15, 2013, Regions filed

a motion to stay (Doc. 6), which, on June 7, 2013, was granted, awaiting the Eleventh Circuit Court

of Appeals’ decision in Breslow v. Wells Fargo Bank, N.A., Case No. 12-14564, to resolve the

“called party” issue. After extending the stay on several occasions, by order of May 9, 2014, the

Court lifted the stay in light of the Eleventh Circuit’s holding on the “called party” issue in Osorio

v. State Farm Bank, F.S.B., No. 13-10951, 2014 WL 1258023 (11th Cir. Mar. 28, 2014), and the

Court permitted “limited discovery on (a) whether Regions’ system is an ‘automatic telephone

dialing system.’” (Doc. 27). On February 9, 2015, both parties filed cross motions for summary

judgment, (Docs. 59 and 62), as to whether the accused system constitutes an ATDS under the

TCPA. On July 13, 2015, Magistrate Judge England issued a Report and Recommendation that

Plaintiff’s motion for summary judgment (Doc. 59) be granted, and that Defendant’s motion for

summary judgment (Doc. 62) be denied. (Doc. 117) (“R&R”).

       On November 18, 2015, this Court entered a Memorandum Opinion and Order, recognizing

that the Magistrate Judge’s R&R did not address the FCC’s recently released ruling, In re Matter

of Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, 30 FCC

Rcd. 7961 (2015) (“2015 FCC Order’) and referred the matter back to the Magistrate Judge for

further proceedings. (Doc. 121).




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       On April 14, 2016, Magistrate Judge England entered his Supplemental Report and

Recommendation. (Doc. 134) (“Supplemental R&R”), which found that the system at issue was

an ATDS under the TCPA. Thus, Magistrate Judge England again recommended that Plaintiff’s

motion for partial summary judgment be granted and that Regions’ motion for summary judgment

be denied. On April 27, 2016, Regions filed its Objections to the Supplemental R&R. (Doc. 135).

Also on April 14, 2016, Magistrate Judge England entered an order denying Regions’ motion for

another stay, (Doc. 133), to which Regions also objected. (Doc. 136).

       Following a hearing, on May 13, 2016, the Court stayed this matter for a second time

“pending a ruling by the D.C. Circuit Court of Appeals in ACA Int'l v. FCC, Case No. 15-1211

(the lead case in Consolidated Appeals) reviewing the FCC’s 2015 Order.” (Doc. 139). As

directed by that Order, on April 23, 2018, the parties filed a status report upon a decision

adjudicating the ACA case. (Doc. 145). Pursuant to the Court’s briefing schedule (Doc. 146), the

parties submitted supplemental arguments “addressing the effect of the ACA decision” on the still

pending objections to the Supplemental R&R. (Docs. 147–150).

       On May 22, 2018, this Court overruled Regions’ objections and directed summary

judgment be entered in Plaintiff’s favor on the ATDS issue. (Doc. 153 at 3–4) (hereinafter

“Summary Judgment Order”). Regions then sought reconsideration of the Summary Judgment

Order, (Doc. 156), which, on August 6, 2018, was denied (Doc. 168). The order denying

reconsideration also directed certain limited discovery to proceed and further directed a status

report be filed on December 10, 2018. (Doc. 168). Pursuant to the parties’ December 10, 2018

status report (Doc. 171), the Court directed that a further report be filed on or before February 11,

2019, detailing the status of the case, discovery, and mediation, and including a Rule 26(f)

discovery plan. (Doc. 172).



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       Following the parties’ submission of the February Status Report (Doc. 175) and Discovery

Plan (Doc. 176), the Court entered a Scheduling Order on February 19, 2019. (Doc 177).

       As noted in the parties’ February Status Report (Doc. 175), the parties’ engaged in a

mediation with Mediator Rodney Max on July 30, 2019. At all times, the parties’ negotiations

were adversarial, non-collusive, and conducted at arm’s length. The mediation was successful and

resulted in a settlement which has been memorialized in the Class Action Settlement Agreement

(“Settlement”), attached as Exhibit A hereto, presently before this Court for consideration.

       B. Summary of the Settlement Terms

       Following mediation, the parties, through their respective counsel, turned to the task of

memorializing the terms of the settlement, and the form and content of the class notice and related

Settlement documents. Plaintiff and Defendant finalized the terms and details of the Settlement.

Following is a summary of the Settlement’s material terms.

           1. The Settlement Class. The Settlement Class is an opt-out class under Rule

23(b)(3) of the Federal Rules of Civil Procedure. It is defined to include:


               all persons who (a) received a text message from Regions between
               January 24, 2011 and the present, (b) without their prior express
               consent in that the called (i.e. texted) party was not the intended
               recipient or the recipient had previously informed Regions that it
               had the wrong number. Excluded from the Settlement Class are (a)
               any persons who signed a release of Regions related to such conduct
               in exchange for consideration; (b) any officers, directors or
               employees, or immediate family members of the officers, directors
               or employees, of Regions or any entity in which Regions has a
               controlling interest; (c) any legal counsel or employee of legal
               counsel for Regions; and (d) the presiding Judge in the Action, as
               well as the Judge’s staff and their immediate family members.
Settlement ¶ 1.35 (cited to herein after as “S.A.”), (“Settlement Class”).1


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 All capitalized terms used herein will have the meaning attributed to them in the Settlement
Agreement unless otherwise defined herein.
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            2.   Monetary, Prospective and Other Relief for the Benefit of the Class. The

Settlement requires the establishment of a common fund in the amount of $2,805,200 to be funded

by Defendant on a non-reversionary basis (“Settlement Fund”). S.A. ¶¶ 1.38, 3.1. Class

Members who submit a valid and timely claim form will receive a check for $50.00. S.A. ¶ 3.3(a).

If the funds available to pay claims in the amount of $50.00 to each Class Member who files a

claim after such funds are reduced by the payment of the Service Award and the Fee Award are

insufficient to pay claims in the amount of $50.00 each, the claims of those class members who

file a claim shall be reduced and paid on a pro rata basis. Id. If an amount greater than $50,000

remains in the Settlement Fund after the initial distribution to Settlement Class Members who file

a valid claim, then the Settlement Administrator shall distribute the remaining Settlement Fund to

Settlement Class Members who cashed their Benefit Check from the previous round of distribution

on a pro rata basis after all costs associated with the second distribution are paid from the

remaining Settlement Fund. S.A. ¶ 3.3(b).2 Settlement Class Members who are eligible to receive

a second distribution shall not be entitled to receive more than the maximum that he or she could

have received under the TCPA for a single text message violation. Id.

            3.   Class Release. In exchange for the benefits conferred by the Settlement, all Class

Members who do not opt out will be deemed to have released all claims against the Released

Parties, whether known or unknown, under the TCPA arising out of or related to any text messages

received from Defendant during the Class Period, including, but not limited to, claims asserted in

the Action or arising out of the facts and circumstances asserted in the Action. S.A. ¶ 5.1.




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  If an amount less than $50,000 remains in the Settlement Fund after the initial distribution to Settlement Class
Members who file a valid claim, then such amount shall be distributed to the Cy Pres Recipient or Recipients approved
by the Court. S.A. ¶ 3.3 Defendant recommends the United Way of Central Alabama, Inc., as the cy pres recipient.
S.A. ¶ 1.14.

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          4.   The Notice Plan. The notice plan is designed to provide the best notice practicable.

The parties propose American Legal Claim Services, LLC as the settlement administrator

(“Settlement Administrator”), a highly experienced and well-regarded notice and class

administrator. S.A. ¶ 1.34. The administrative fees, costs, and expenses of the Settlement

Administrator (“Settlement Administration Expenses”) shall be paid exclusively by Defendant as

such expenses are incurred, separate and apart from the Settlement Fund, except to the extent a

second distribution to Class Members will be required, which will be paid from the Settlement

Fund. See S.A. ¶¶ 1.33, 1.38, 3.1, 3.3, 6.2.

       The notice plan is comprised of direct mail notice, a Settlement Website, a toll-free

telephone number, and a form of supplemental notice either by telephone or internet. S.A. § 6.

The Settlement Administrator will conduct research to identify the owners of the cell phones

contained on the Class List. The Settlement Administrator will then compare the results of such

research to the names and addresses associated with these numbers as contained in Defendant’s

records. Where the research and the records do not match, the individual identified by the

Settlement Administrator as associated with the number on the Class List will receive notice.

       The Settlement Administrator will also set up and administer a Settlement Website devoted

to this case, that Class Members can utilize to obtain information about the case, including

settlement documents and claim forms, and to submit claim forms. S.A. ¶ 6.2(c). Defendant will

also provide the notification required by the Class Action Fairness Act, 28 U.S.C. § 1715, to the

Attorneys General of each U.S. State in which Settlement Class Members reside, the Attorney

General of the United States, and any other required government officials. S.A. ¶ 6.3.

          5.   Class Representative Service Award. Class Counsel will seek, and Defendant

will not oppose, a Service Award of up to $10,000.00 for Plaintiff (or in another lesser amount if



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set by the Court). The payment of a Service Award is neither a condition for the settlement nor is

Plaintiff’s approval of the settlement conditioned upon the receipt of a Service Award. If the Court

approves the Service Award, the Service Award will be paid from the Settlement Fund. The

Service Award will be in addition to the relief Plaintiff will otherwise be entitled to under the terms

of the Settlement. The Service Award will compensate the Class Representative for her time and

efforts in prosecuting this Action, and for representing the Class Members. S.A. ¶ 13.2.

         6.    Attorneys’ Fees, Costs and Expenses. Class Counsel will seek up to 30% of the

Settlement Fund for their attorneys’ fees, in addition to reimbursement of the litigation costs and

expenses incurred in this Action, all of which shall be paid from the Settlement Fund subject to

approval from the Court. S.A. ¶ 13.1. The parties negotiated these attorneys’ fees, costs and

expenses only after reaching agreement on all the material terms of the Settlement. Declaration of

John Yanchunis, attached hereto as Exhibit B, at ¶ 15 (hereinafter “Yanchunis Decl.”). In the

event the Court grants preliminary approval of the Settlement, Class Counsel will file a motion

seeking fees, costs and expenses, and propose that they do so no later than fifty (50) days after the

Preliminary Approval Order has been entered.

       In addition to seeking preliminary approval of the Settlement, Plaintiff also seeks

conditional certification of a nationwide class for purposes of providing the Class with notice of

the Settlement and an opportunity to opt-out, object, or otherwise be heard. The Settlement

satisfies all criteria for preliminary settlement approval under Eleventh Circuit law and is fair,

reasonable and adequate.

III.   ANALYSIS

       A. Certification of the Settlement Class is Appropriate




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       Prior to granting preliminary approval of a proposed settlement, the Court should first

determine that the proposed Settlement Class is appropriate for certification. See MANUAL FOR

COMPLEX LITIG., § 21.632 (4th ed. 2004)); Amchem Prods. Inc. v. Windsor, 521 U.S. 591, 620

(1997). Class certification is proper if the proposed class, proposed class representative, and

proposed class counsel satisfy the numerosity, commonality, typicality, and adequacy of

representation requirements of Rule 23(a). Fed. R. Civ. P 23(a)(1)–(4); see also Fabricant v. Sears

Roebuck, 202 F.R.D. 310, 313 (S.D. Fla. 2001). Additionally, where (as in this case) certification

is sought under Rule 23(b)(3), the plaintiff must demonstrate that common questions of law or fact

predominate over individual issues and that a class action is superior to other methods of

adjudicating the claims. Fed. R. Civ. P. 23(b)(3); Amchem, 521 U.S. at 615–16. District courts

are given broad discretion to determine whether certification of a class action lawsuit is

appropriate. Walco Investments, Inc. v. Thenen, 168 F.R.D. 315, 323 (S.D. Fla. 1996).

       “Confronted with a request for settlement-only class certification, a district court need not

inquire whether the case, if tried, would present intractable management problems . . . for the

proposal is that there be no trial.” Amchem Products, Inc., 521 U.S. at 620.

             1. The Proposed Settlement Class Meets All of the Requirements of Rule 23(a).

                   a. The Settlement Class Satisfies the Numerosity Requirement.

       The first prerequisite to class certification is numerosity, which requires “the class [be] so

numerous that joinder of all members is impractical.” Fed. R. Civ. P. 23(a)(1). “While ‘mere

allegations of numerosity are insufficient,’ Rule 23(a)(1) imposes a ‘generally low hurdle,’ and ‘a

plaintiff need not show the precise number of members in the class.’” Manno v. Healthcare

Revenue Recovery Grp., LLC, 289 F.R.D. 674, 684 (S.D. Fla. 2013) (citation omitted). While the

exact size of the putative class need not be specified, “‘generally less than twenty-one is


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inadequate, more than forty adequate; with numbers between varying according to other factors.’”

Cox v. Am. Cast. Pipe Co., 784 F.2d 1546, 1553 (11th Cir. 1986) (quoting 3B Moore's Federal

Practice para. 23.05[1] n.7 (1978)).

       In the present case, Defendant has identified approximately 65,000 unique cell phone

numbers that the Settlement Administrator will evaluate as potential class members through

additional research. Yanchunis Decl. ¶ 16. Thus, the numerosity requirement is easily satisfied.

               b.      The Settlement Class Satisfies the Commonality Requirement.

       The second prerequisite to class certification is commonality, which “requires the plaintiff

to demonstrate that the class members ‘have suffered the same injury,’” and the plaintiff’s common

contention “must be of such a nature that it is capable of classwide resolution–which means that

determination of its truth or falsity will resolve an issue that is central to the validity of each one

of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2545 (2011) (citation

omitted). The commonality requirement presents a low hurdle, as commonality does not require

that all questions of law and fact raised be common. Beaty v. Cont'l Auto. Sys. U.S., Inc., CV-10-

S-2440-NE, 2012 WL 12895014, at *4 (N.D. Ala. Feb. 6, 2012). “[F]or purposes of Rule 23(a)(2)

‘[e]ven a single [common] question’ will do.” Dukes, 131 S. Ct. at 2556.

       “Rather, the test for commonality ‘is qualitative rather than quantitative—that is, there need

be only a single issue common to all members of the class.’” Beaty, 2012 WL 12895014, at *4

(quoting 1 Herbert B. Newberg & Alba Conte, Newberg on Class Actions, § 3.10, at 3-50 (3d ed.

1992)); see also, e.g., Williams v. Mohawk Indus., Inc., 568 F.3d 1350, 1355 (11th Cir. 2009).

       Here, the commonality requirement of Rule 23(a)(2) is readily satisfied. There are many

questions of law and fact common to the Settlement Class that focus on Defendant’s common

practice of causing text messages to be sent on its behalf to Settlement Class Members on their



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cellular telephones. See Manno, 289 F.R.D. at 685. Plaintiff has alleged numerous questions of

fact and law common to the Class, including, among others:

       1. Whether Defendant or third parties acting on behalf of Defendant used an automatic
          telephone-dialing system to send text messages to the cellular telephone numbers
          assigned to Plaintiff and Settlement Class Members;
       2. Whether Defendant is subject to the TCPA;
       3. Whether Defendant or third parties acting on its behalf obtained valid prior express
          consent from Plaintiff and Settlement Class Members to send text messages to their
          cellular telephones using an automatic telephone-dialing system; and
       4. Whether Defendant’s conduct violates the TCPA.

                   c. The Settlement Class Satisfies the Typicality Requirement.

       The next prerequisite to certification, typicality, “measures whether a significant nexus

exists between the claims of the named representative and those of the class at large.” Hines v.

Widnall, 334 F.3d 1253, 1256 (11th Cir. 2003); Fed. R. Civ. P. 23(a)(3). A class representative’s

claims are typical of the claims of the class if they “arise from the same event or pattern or practice

and are based on the same legal theory.” Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332,

1337 (11th Cir. 1984); see also Cooper v. Southern Co., 390 F.3d 695, 714 (11th Cir. 2004)

(“Neither the typicality nor the commonality requirement mandates that all putative class members

share identical claims, and . . . factual differences among the claims of the putative members do

not defeat certification.”). Simply put, when the same course of conduct is directed at both the

named plaintiff and the members of the proposed class, the typicality requirement is met. Kennedy

v. Tallant, 710 F.2d 711, 717 (11th Cir. 1983).

       Here, the typicality requirement is satisfied for the same reasons that Plaintiff’s claims meet

the commonality requirement. Specifically, Plaintiff and Settlement Class Members were each

subjected to the same conduct – Defendant or third parties acting on its behalf sent text messages

to their cellular telephones without their prior express consent to do so. Thus, typicality is met.


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                  d.   The Settlement Class Satisfies the Adequacy Requirement.

       Rule 23(a)(4) requires that the class representative “not possess interests which are

antagonistic to the interests of the class.” 1 Newberg on Class Actions § 3:21. Additionally, the

class representative’s counsel “must be qualified, experienced, and generally able to conduct the

litigation.” Id.; Amchem, 521 U.S. at 625-26. At the preliminary stage of the approval process,

there is nothing to suggest that this requirement has not been satisfied. The Class Representative

is a member of the Settlement Class and she does not possess any interests antagonistic to the

Settlement Class. Ms. Swaney supports the Settlement and has been devoted to this litigation for

the better part of a decade. See Yanchunis Decl. ¶ 20. In addition, Proposed Class Counsel are

experienced in class action litigation, including TCPA actions, and have submitted documentation

establishing their skills and experience in handling class litigation around the country and in this

District. See Yanchunis Decl. ¶ 21, and its Composite Exhibit 1, enclosing resumes of Proposed

Class Counsel. Accordingly, the requirements of Rule 23(a) are satisfied.

          2.   The Proposed Settlement Class Meets the Predominance and Superiority
               Requirements.

       In addition to meeting the prerequisites of Rule 23(a), the proposed Settlement Class must

also meet one of the three requirements of Rule 23(b). In re Checking Account Overdraft Litig.,

286 F.R.D. 645, 650 (S.D. Fla. 2012). Here, Plaintiff seeks certification under Rule 23(b)(3),

which requires that (i) questions of law and fact common to members of the class predominate

over any questions affecting only individuals, and that (ii) the class action mechanism is superior

to other available methods for the fair and efficient adjudication of the controversy. Fed. R. Civ.

P. 23(b)(3). “‘It is not necessary that all questions of fact or law be common, but only that some

questions are common and that they predominate over individual questions.’” James D. Hinson

Elec. Contracting Co., Inc. v. BellSouth Telecommunications, Inc., 275 F.R.D. 638, 644 (M.D. Fla.

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2011) (quoting Klay v. Humana, Inc., 382 F.3d 1241, 1254 (11th Cir. 2004)). The “inquiry into

whether common questions predominate over individual questions is generally focused on whether

there are common liability issues which may be resolved efficiently on a class-wide basis.” Agan

v. Katzman & Korr, P.A., 222 F.R.D. 692, 700 (S.D. Fla. 2004). The proposed Settlement Class

readily meets these requirements.

                    a. Common Questions of Law and Fact Predominate.

       Rule 23(b)(3)’s predominance requirement focuses primarily on whether a defendant’s

liability is common enough to be resolved on a class basis, see Dukes, 131 S. Ct. at 2551-57, and

whether the proposed class is “sufficiently cohesive to warrant adjudication by representation.”

Amchem, 521 U.S. at 623. “Common issues of fact and law predominate if they have a direct

impact on every class member’s effort to establish liability and on every class member’s

entitlement to injunctive and monetary relief.” Carriuolo v. GM Co., 823 F.3d 977, 985 (11th Cir.

2016); see also Sacred Heart Health Sys., Inc. v. Humana Military Healthcare Servs., Inc., 601

F.3d 1159, 1179 (11th Cir. 2010) (noting that “[t]he relevant inquiry [is] whether questions of

liability to the class . . . predominate over . . . individual issues relating to damages. . . .”).

Predominance does not require that all questions of law or fact be common, but rather, that a

significant aspect of the case “can be resolved for all Settlement Class Members of the class in a

single adjudication.” Tornes v. Bank of America, NA (In re Checking Account Overdraft Litig.),

275 F.R.D. 654, 660 (S.D. Fla. 2011). When “‘one or more of the central issues in the action are

common to the class and can be said to predominate, the action may be considered proper under

Rule 23(b)(3) even though other important matters will have to be tried separately, such as

damages or some affirmative defenses peculiar to some individual class members.”” Tyson Foods,

Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (2016) (quoting 7AA C. Wright, A. Miller, & M. Kane,



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Federal Practice and Procedure § 1778, pp. 123–124 (3d ed. 2005)).

       Common issues readily predominate here because the central liability question in this case

— whether Defendant sent or caused text messages to be sent to the cellular telephones of

Settlement Class Members using an ATDS and without their consent — can be established through

generalized evidence, although Defendant denied such evidence was present here. See Klay v.

Humana, Inc., 382 F.3d 1241, 1264 (11th Cir. 2004) (“When there exists generalized evidence

which proves or disproves an element on a simultaneous, class-wide basis, since such proof

obviates the need to examine each class member's individual position, the predominance test will

be met.”)

       Because the claims are being certified for purposes of settlement, there are no issues with

manageability, and resolution of thousands of claims in one action is far superior to individual

lawsuits and promotes consistency and efficiency of adjudication. Amchem Prods. v. Windsor,

521 U.S. 591, 620 (1997) (“Confronted with a request for settlement-only certification, a district

court need not inquire whether the case, if tried, would present intractable management problems

… for the proposal is that there be no trial.”).

                   b. A Class Action Is the Superior Method for Adjudicating This
                      Controversy.

       Finally, a class action is superior to other methods available to fairly, adequately, and

efficiently resolve the claims of the proposed Settlement Class. As courts have historically noted,

“[t]he class action fills an essential role when the plaintiffs would not have the incentive or

resources to prosecute relatively small claims in individual suits, leaving the defendant free from

legal accountability.” In re Checking, 286 F.R.D. at 659. At its most basic, “[t]he inquiry into

whether the class action is the superior method for a particular case focuses on ‘increased

efficiency.’” Agan, 222 F.R.D. at 700 (quoting Sikes v. Teleline, Inc., 281 F.3d 1350, 1359 (11th

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Cir. 2002)).

       Factors the Court may consider are: (A) the interests of members of the class in individually

controlling the prosecution or defense of separate actions; (B) the extent and nature of any

litigation concerning the controversy already commenced by or against members of the class; (C)

the desirability or undesirability of concentrating the litigation of the claims in the particular

forum; and (D) the difficulties likely to be encountered in the management of a class. As noted

earlier, any perceived difficulties managing the Settlement Class need not be considered in this

settlement context. Amchem, 521 U.S. at 620; Sullivan v. DB Invs., Inc., 667 F.3D 273, 302-03

(3d Cir. 2011) (holding that potential variances in different states’ laws would not defeat

certification of a settlement-only class because trial management concerns were not implicated by

a settlement-only class, as opposed to a litigated class). A class action settlement is superior to

other means of resolution because a settlement affording Settlement Class Members an opportunity

to receive compensation benefits all parties.

       Here, resolution of thousands of claims in one action is far superior to individual lawsuits,

because it promotes consistency and efficiency of adjudication. See Fed. R. Civ. P. 23(b)(3).

Indeed, absent class treatment in the instant case, each Settlement Class Member will be required

to present the same or essentially the same legal and factual arguments, in separate and duplicative

proceedings, the result of which would be a multiplicity of trials conducted at enormous expense

to both the judiciary and the litigants. Moreover, there is no indication that Members of the

Settlement Class have an interest in individual litigation or an incentive to pursue their claims

individually, given the small amount of damages likely to be recovered, relative to the resources

required to prosecute such an action. See In re Terazosin Hydrochloride Antitrust Litig., 220

F.R.D. 672, 700 (S.D. Fla. 2004) (class actions are “particularly appropriate where . . . it is



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necessary to permit the plaintiffs to pool claims which would be uneconomical to litigate

individually”). Additionally, the proposed Settlement will give the parties the benefit of finality,

and because this case has now been settled, pending Court approval, the Court need not be

concerned with issues of manageability relating to trial.         See Amchem, 521 U.S. at 620

(“[c]onfronted with a request for settlement-only class certification, a district court need not

inquire whether the case . . . would present intractable management problems. . . .”).

       The Court should certify the Settlement Class, as the superiority requirement is satisfied,

along with all other Rule 23 requirements.

              B. Plaintiff’s Counsel Should Be Appointed as Class Counsel.

       Under Rule 23, “a court that certifies a class must appoint class counsel . . .[who] must

fairly and adequately represent the interests of the class.” Fed. R. Civ. P. 23(g)(1). In making this

determination, the court must consider the proposed class counsel’s (1) work in identifying or

investigating potential claims, (2) experience in handling class actions or other complex litigation

and the types of claims asserted in the case, (3) knowledge of the applicable law, and (4) resources

committed to representing the class. Fed. R. Civ. P. 23(g)(1)(A)(i)-(iv).

       As discussed above, and as fully explained in Class Counsels’ resumes, attached as

Composite Exhibit 1 to the Yanchunis Decl., proposed Class Counsel have extensive experience

prosecuting similar class actions and other complex litigation. Further, proposed Class Counsel

have diligently investigated and prosecuted the claims in this matter, have dedicated substantial

resources to the investigation of those claims, and have successfully negotiated the Settlement of

this matter to the benefit of Plaintiff and the proposed Settlement Class. Yanchunis Decl. ¶ 21.

Accordingly, the Court should appoint John Allen Yanchunis Sr., Patrick A. Barthle II, and

Jonathan B. Cohen, of Morgan & Morgan Complex Litigation Group; William “Billy” Peerce

Howard of the Consumer Protection Firm, PLLC; Micah S. Adkins of the Adkins Firm PC; and
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Cathleen M. Combs of Edelman Combs Latturner & Goodwin LLC as Class Counsel.

              C. The Settlement Is Fundamentally Fair, Reasonable, Adequate and
                 Warrants Preliminary Approval.

       After determining that a proposed settlement class is appropriate for certification, courts

consider whether the proposed settlement itself warrants preliminary approval. Recent revisions

to Rule 23(e)—effective on December 1, 2018—standardize the analysis needed at the preliminary

approval stage. The Advisory Committee also noted, however, that “[t]he goal of this amendment

is not to displace any factor” previously considered in any given Circuit. See also, e.g., 4 Newberg

on Class Actions § 13:58 (5th ed.) (“[V]arious pre-existing legal factors not captured by amended

Rule 23(e)(2)’s list of factors may prove relevant in particular cases.”). Under either set of

standards, the Settlement here is fair, reasonable, and adequate and should be preliminarily

approved.

                 1. The Settlement Satisfies Amended Rule 23(e) for Preliminary Approval

       Amended Rule 23(e)(1) provides that notice should be given to the class, and hence,

preliminary approval should be granted, where the Court “will likely be able to” (i) finally approve

the settlement under Amended Rule 23(e)(2), and (ii) certify the class for settlement purposes.

Fed. R. Civ. P. 23(e)(1)(B)(i)–(ii); see also id. 2018 Amendment Advisory Committee Notes. As

explained above in section III.A, the Class here meets the criteria for certification of a settlement

class, including all aspects of numerosity, commonality, typicality, adequacy, and predominance.

Rule 23(e)(1)(B)(ii) is therefore met.

       As to Rule 23(e)(1)(B)(i), final approval is proper under the amended rule upon a finding

that the settlement is “fair, reasonable, and adequate” after considering whether:

               (A) the class representatives and class counsel have adequately represented
               the class;
               (B) the proposal was negotiated at arm’s length;
               (C) the relief provided for the class is adequate, taking into account:

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                       (i) the costs, risks, and delay of trial and appeal;
                       (ii) the effectiveness of any proposed method of distributing relief
                       to the class, including the method of processing class-member
                       claims;
                       (iii) the terms of any proposed award of attorney’s fees, including
                       timing of payment; and
                       (iv) any agreement required to be identified under Rule 23(e)(3); and

               (D) the proposal treats class members equitably relative to each other.

Fed. R. Civ. P. 23(e). The Court will “likely be able to” finally approve this Settlement and thus

preliminary approval should be granted.

                       a. Adequacy of Representation and Arm’s Length Negotiation

       As an initial matter, and as explained above, Plaintiff and Class Counsel have adequately

represented the Class. See supra section III.A.1.d. Moreover, the Settlement was negotiated at

arm’s length using experienced mediator Rodney Max. Yanchunis Decl. ¶ 15. Subsections (A)

and (B) of Rule 23(e)(2) are therefore met.

                       b. Adequacy of Relief

       The relief offered by the Settlement is adequate considering the risks of continued

litigation. Although Plaintiff is confident in the merits of her claims, the risks involved in

prosecuting a class action through trial cannot be disregarded. Plaintiff’s claims would still need

to succeed on a motion for class certification, and likely survive an appeal thereof.

       As discussed above, pursuant to the Settlement, a Settlement Fund of $2,805,200 will be

created, plus costs of notice and administration will be separately funded by Defendant and will

not diminish the relief provided to the Class. Settlement Class Members who submit timely and

valid claim forms will each receive a check for $50.00, which can be increased or decreased up to

a potential cap of the maximum statutory amount for a single text message under the TCPA, based

on the pro rata share of the Settlement Fund. S.A. ¶ 3.3. As set forth in the attached chart of

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recently approved TCPA Class Settlements, this relief is consistent with the relief provided to class

members, as approved by courts, in similar TCPA class actions across the country. See Recently

Approved TCPA Class Settlements Chart, attached hereto as Exhibit C.

          The Settlement relief will be distributed via a straight-forward claims process utilizing an

easy to understand and use claim form. S.A. § 4. Checks for approved claims will then be mailed

and postmarked as soon as practicable, but no later than sixty (60) days after the Effective Date.

S.A. ¶ 3.3(a).

          Attorneys’ fees, costs, and expenses were negotiated separate, apart, and after reaching

agreement on the Class relief. Yanchunis Decl. ¶ 15. Plaintiff will seek attorneys’ fees of up to

thirty percent (30%) of the Settlement Fund, plus any reasonable out-of-pocket costs and litigation

expenses incurred by Class Counsel. S.A. ¶ 13.1. Attorneys’ fees, costs, and expenses, in

whatever amount set by the Court, are to be paid as soon as possible after the Effective Date. S.A.

¶ 13.1.3

          Nevertheless, and despite the strength of the Settlement, Plaintiff is pragmatic in her

awareness of the various defenses available to Defendant, as well as the risks inherent to continued

litigation. For example, Defendant has consistently denied liability, repeatedly challenging the

existence of an ATDS and this Court’s rulings regarding same, argued that class certification was

inappropriate, and undoubtedly would appeal those rulings at the proper time. Moreover, this

matter has been pending for over six years, undergoing several stays in light of unresolved

questions of law, FCC orders, appeals of those FCC orders, and anticipated—yet still

forthcoming—potential changes in FCC guidance. The vagaries of FCC action, appeals of that

action, and stays of related litigation (like this one), could not be more apparent than in this case.



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    There are no Rule 23(e)(3) agreements to be disclosed here. See Fed. R. Civ. P. 23(e)(2)(C)(iv).
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The Settlement avoids such further delay. And it avoids the possibility that new FCC guidance

might undermine Plaintiff’s claims in this case.

       Accordingly, the relief provided by the Settlement is fair, reasonable, and adequate

especially when considering the inherent costs, risks, and delay were this matter to proceed.

Subsection (C) of Rule 23(e)(2) is therefore met.

                       c. The Settlement Treats Each Respective Class Member Equitably

       The last requirement of the new Rule 23(e) is that the Settlement “treats class members

equitably relative to each other.” Fed. R. Civ. P. 23(e)(2)(D). Here, the Settlement treats all Class

Members equitably relative to one another because all Class Members who received an

unconsented-to text are eligible for compensation in the amount of $50 following submission of a

claim form. S.A. ¶ 3.3. Depending on the claims, that amount can increase pro rata up to the

maximum that he or she could have received under the TCPA for a single text message. Id.

                 2. The Settlement Also Satisfies Historic Factors for Preliminary Approval

       The historical procedure for review of a proposed class action settlement is a well-

established two-step process. ALBA & CONTE, 4 NEWBERG ON CLASS ACTIONS, §11.25, at 38–39

(4th ed. 2002). The first step is a preliminary, pre-notification hearing to determine whether the

proposed settlement is “within the range of possible approval.” Id. (quoting MANUAL              FOR

COMPLEX LITIG., §30.41 (3rd ed. 1995)); Fresco v. Auto Data Direct, Inc., No. 03-cv-61063, 2007

WL 2330895, at *4 (S.D. Fla. May 14, 2007). “Preliminary approval is appropriate where the

proposed settlement is the result of the parties’ good faith negotiations, there are no obvious

deficiencies and the settlement falls within the range of reason.” Smith v. Wm. Wrigley Jr. Co.,

No. 09-cv-60646, 2010 WL 2401149, at *2 (S.D. Fla. Jun. 15, 2010). Moreover, settlement

negotiations that involve arm’s length, informed bargaining with the aid of experienced counsel



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support a preliminary finding of fairness. See MANUAL         FOR   COMPLEX LITIG. at §30.42. (“A

presumption of fairness, adequacy, and reasonableness may attach to a class settlement reached in

arm’s-length negotiations between experienced, capable counsel after meaningful discovery.”)

(internal quotation marks omitted).

       Further, there is a strong judicial and public policy favoring the voluntary conciliation and

settlement of complex class action litigation. In re U.S. Oil & Gas Litig., 967 F.2d 489, 493 (11th

Cir. 1992) (“Public policy strongly favors the pretrial settlement of class action lawsuits”); Warren

v. City of Tampa, 693 F. Supp. 1051, 154 (M.D. Fla. 1998), aff’d, 893 F. 2d 347 (11th Cir. 1998).

This is because class action settlements ensure class members a benefit, as opposed to the “mere

possibility of recovery at some indefinite time in the future.” In re Domestic Air Transport., 148

F.R.D. 297, 306 (N.D. Ga. 1993); see also, e.g., Ass’n for Disabled Americans, Inc. v. Amoco Oil

Co., 211 F.R.D. 457, 466 (S.D. Fla. 2002) (finding that the policy favoring settlement is especially

relevant in class actions and other complex matters, where the inherent costs, delays and risks of

continued litigation might otherwise overwhelm any potential benefit the class could hope to

obtain). Thus, while district courts have discretion in deciding whether to approve a proposed

settlement, deference should be given to the consensual decision of the parties. Warren, 693 F.

Supp. at 1054 (“affording great weight to the recommendations of counsel for both parties, given

their considerable experience in this type of litigation”).

       Here, there should be no question that the proposed Settlement is “within the range of

possible approval.” As explained above, the process used to reach the Settlement was exceedingly

fair and overseen by an experienced neutral. The Settlement is the result of intensive, arm’s length

negotiations between experienced attorneys who are familiar with class action litigation and with

the legal and factual issues in these cases. See Perez v. Asurion Corp., 501 F. Supp. 2d 1360, 1384


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(S.D. Fla. 2007) (concluding that class settlement was not collusive in part because it was overseen

by “an experienced and well-respected mediator”); Lipuma v. American Express Co., 406 F. Supp.

2d 1298, 1318-19 (S.D. Fla. 2005)) (approving class settlement where the “benefits conferred upon

the Class are substantial, and are the result of informed, arms-length negotiations by experienced

Class Counsel”). Moreover, this resolution was reached following fairly extensive litigation in the

matter, including cross-motions for summary judgment regarding the ATDS issue.

       As discussed above, the relief provided by the Settlement is significant, especially

considering the risks and delay further litigation would entail, including the potentiality that the

FCC issues new guidance on the ATDS or “called party” issue.

       Thus, the Settlement is due to be preliminarily approved under the historic factors too.

              D. The Form and Method of Class Notice Are Adequate and Satisfy the
                 Requirements of Rule 23.

       “Rule 23(e)(1)(B) requires the court to direct notice in a reasonable manner to all class

members who would be bound by a proposed settlement, voluntary dismissal, or compromise

regardless of whether the class was certified under Rule 23(b)(1), (b)(2), or (b)(3).” MANUAL FOR

COMPL. LITIG. § 21.312 (internal quotation marks omitted). The best practicable notice is that

which is “reasonably calculated, under all the circumstances, to apprise interested parties of the

pendency of the action and afford them an opportunity to present their objections.” Mullane v.

Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950). To satisfy this standard, “[n]ot only

must the substantive claims be adequately described but the notice must also contain information

reasonably necessary to make a decision to remain a class member and be bound by the final

judgment or opt out of the action.” Twigg v. Sears, Roebuck & Co., 153 F.3d 1222, 1227 (11th

Cir. 1998) (internal quotation marks omitted); see also MANUAL FOR COMPL. LITIG., § 21.312

(listing relevant information).

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       The notice plan here satisfies all of these criteria and is designed to provide the best notice

practicable. Foremost, the notice plan is reasonably calculated under the circumstances to apprise

the Settlement Class of the pendency of the case, class certification (for settlement purposes), the

terms of the Settlement, Class Counsel’s Application for Attorneys’ Fees, Costs and Expenses,

and the Class Representative’s Service Award, Class Members’ rights to opt-out of or object to

the Settlement, as well as the other information required by Fed. R. Civ. P. 23(c)(2)(B).

Additionally, the notice plan is comprised of both direct mail notice and a Settlement Website.

       The proposed form of notice, attached to the Settlement as its Exhibit 4, satisfies all the

criteria above. The notice plan provides for direct, individual notice via U.S. Mail. Skip tracing

will be performed for returned mail and direct mail notice as needed. Also, notice will be provided

to Settlement Class Members online through the dedicated Settlement website that the Settlement

Administrator will maintain. See S.A. ¶ 6.2(c). Finally, Defendant will provide the notification

required by the Class Action Fairness Act, 28 U.S.C. § 1715, to the Attorneys General of each

U.S. State in which Settlement Class Members reside, the Attorney General of the United States,

and any other required government officials. Id. ¶ 6.3.

       Therefore, the notice and notice plan satisfy all applicable requirements of the law,

including, but not limited to, Rule 23 of the Federal Rules of Civil Procedure and applicable Due

Process. The Court should therefore approve the notice plan and the form and content of the notice

attached to the Settlement as its Exhibit 4.

              E. The Court Should Schedule a Final Approval Hearing.

      The last step in the preliminary approval process is to schedule a Final Approval Hearing,

at which the Court will hear evidence and argument necessary to make its final evaluation of the

Settlement.   The Court will determine at or after the Final Approval Hearing whether the



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Settlement should be approved; whether to enter the Final Judgment and Order of Dismissal with

Prejudice under Rule 23(e); and whether to approve Class Counsel’s Application for attorneys’

fees, costs and expenses, and request for Service Award for the Class Representative. Plaintiff

and Class Counsel request that the Court schedule the Final Approval Hearing at a date convenient

for the Court, and no sooner than one hundred and thirty (130) days after the filing of this Motion

for Preliminary Approval, in compliance with the provisions of the Class Action Fairness Act of

2005, 28 U.S.C. § 1715. Plaintiff and Class Counsel will file the motion for Final Approval at

least ten (10) business days before the Final Approval Hearing and the application for attorneys’

fees, costs and expenses, and request for Service Awards within 50 days after the Preliminary

Approval Order has been entered. S.A. §§ 11, 13.

IV.    CONCLUSION

       Based on the foregoing, Plaintiff respectfully requests that the Court enter an order:

(1) certifying, for settlement purposes, the proposed Settlement Class, pursuant to Rules 23(a),

(b)(3) and (e) of the Federal Rules of Civil Procedure; (2) granting Preliminary Approval of the

Settlement; (3) approving the notice plan set forth in the Settlement and the form and content of

the notice attached as Exhibit 4 thereto; (4) approving and ordering the opt-out and objection

procedures set forth in the Settlement; (5) appointing Plaintiff Sueann Swaney as Class

Representative; (6) appointing John Allen Yanchunis Sr., Patrick A. Barthle II, and Jonathan B.

Cohen, of Morgan & Morgan Complex Litigation Group; William “Billy” Peerce Howard of the

Consumer Protection Firm, PLLC; Micah S. Adkins of the Adkins Firm PC; and Cathleen M.

Combs of Edelman Combs Latturner & Goodwin LLC as Class Counsel; (7) appointing American

Legal Claim Services, LLC as the Settlement Administrator, and (8) scheduling a Final Approval

Hearing at a date convenient for the Court, and in compliance with the provisions of the Class



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Action Fairness Act of 2005, 28 U.S.C. § 1715. A Proposed Order Preliminarily Approving Class

Settlement and Providing for Class Notice is attached the Settlement as its Exhibit 5.


Dated: November 12, 2019                     Respectfully submitted,



                                             /s/_John A. Yanchunis_______________
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                                             Attorneys for Plaintiff



                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this November 12, 2019, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification of this filing

to all attorneys of record in this matter.


                                             /s/ John Yanchunis
                                             John Yanchunis




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